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Brent O. Hatch (Bar No. 5715)               Rohit K. Singla (admitted pro hac vice)
Shaunda L. McNeill (Bar No. 14468)          Justin P. Raphael (admitted pro hac vice)
HATCH, JAMES & DODGE, PC                    Ashley D. Kaplan (admitted pro hac vice)
10 W. Broadway, Suite 400                   MUNGER TOLLES & OLSON
Salt Lake City, Utah 84101                  560 Mission St., 27th Floor
Tel: (801) 363-6363                         San Francisco, CA 94105
Fax: (801) 363-6666                         Tel: (415) 512-4000
bhatch@hjdlaw.com                           Fax: (415) 512-4077
smcneill@hjdlaw.com                         rohit.singla@mto.com
                                            justin.raphael@mto.com
Robert S. Clark (Bar No. 4015)              ashley.kaplan@mto.com
Sara M. Nielson (Bar No. 13824)
PARR BROWN GEE & LOVELESS
101 South 200 East, Suite 700
Salt Lake City, Utah 84111
Tel: (801) 532-7840
Fax: (801) 532-7750
rclark@parrbrown.com
snielson@parrbrown.com

Attorneys for Defendant 1-800 Contacts, Inc.


                      IN THE UNITED STATES DISTRICT COURT

                 FOR THE DISTRICT OF UTAH, CENTRAL DIVISION


 J THOMPSON, et al., Individually and on
 Behalf of All Others Similarly Situated,         DEFENDANT 1-800 CONTACTS’
                                                  ANSWER TO PLAINTIFFS’
                      Plaintiffs,                 CONSOLIDATED AMENDED
                                                  COMPLAINT
 vs.
                                                  Case No: 2:16-cv-01183-TC
 1-800 CONTACTS, INC., et al.,
                                                  Judge: Hon. Tena Campbell
                      Defendants.
                                                 Magistrate Judge: Hon. Dustin Pead
                                            ______
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       Defendant 1-800 Contacts, Inc. (“1-800 Contacts”), by and through its attorneys, hereby

submits its Answer in response to Plaintiffs’ Consolidated Amended Complaint.

       1.      1-800 Contacts admits that Plaintiffs purport to be proposed Class representatives

of a nationwide class of consumers and that Plaintiffs purport to seek relief from Defendants for

violations of federal antitrust law. 1-800 Contacts denies that it violated the federal antitrust

laws or suppressed competition in any relevant antitrust market and denies that this is a proper

class action. 1-800 Contacts otherwise lacks knowledge or information sufficient to form a

belief as to the allegations in paragraph 1 and on that basis denies them.

       2.      1-800 Contacts admits that it entered into settlement agreements with other online

sellers of contact lenses to resolve bona fide trademark litigation filed by 1-800 Contacts against

other online sellers of contact lenses who were using 1-800 Contacts’ trademarks in commerce

(and, in one instance, a broader sourcing and services agreement). 1-800 Contacts further admits

that it currently has more U.S. online sales of contact lenses than any other single retailer. 1-800

Contacts lacks knowledge or information sufficient to form a belief as to the allegations in the

second and third sentences of paragraph 2 and on that basis denies them. 1-800 Contacts denies

the rest of the allegations in paragraph 2.

       3.      1-800 Contacts lacks knowledge or information sufficient to form a belief as to

the allegations in paragraph 3 and on that basis denies them.

       4.      1-800 Contacts admits the allegations in the first sentence of paragraph 4. 1-800

Contacts lacks knowledge or information sufficient to form a belief as to the allegations in the

second sentence of paragraph 4 and on that basis denies them.

       5.      1-800 Contacts denies the allegations in paragraph 5.


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       6.      1-800 Contacts admits that search engines use “keywords” in determining

whether an internet user will see a particular advertisement in response to a specific search. The

remaining allegations purport to quote and characterize a document, which speaks for itself. 1-

800 Contacts refers to that document for a true and complete statement of its contents and

otherwise denies any remaining allegations in paragraph 6.

       7.      1-800 Contacts admits that some search engines allow a prospective advertiser to

specify “negative keywords.” The remaining allegations purport to quote and characterize a

document, which speaks for itself. 1-800 Contacts refers to that document for a true and

complete statement of its contents and otherwise denies any remaining allegations in paragraph

7.

       8.      1-800 Contacts admits that the process by which some search engine companies

currently sell certain types of advertising on their search engine results page includes variants of

certain auction elements. 1-800 Contacts lacks knowledge or information sufficient to form a

belief as to the remaining allegations in paragraph 8 and on that basis denies them.

       9.      1-800 Contacts lacks knowledge or information sufficient to form a belief as to

the allegations in paragraph 9 and on that basis denies them.

       10.     1-800 Contacts admits that it has entered into bilateral settlement agreements of

bona fide trademark litigation (and, in one instance, a broader sourcing and services agreement)

that prevent each party from engaging in certain unauthorized uses of the other’s specified

trademark terms as keywords for Internet search advertising. 1-800 Contacts otherwise denies

the allegations in paragraph 10.




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        11.     1-800 Contacts admits that it has entered into settlement agreements of bona fide

trademark litigation (and, in one instance, a broader sourcing and services agreement) that

contain terms requiring the use of “negative keywords.” 1-800 Contacts lacks knowledge or

information sufficient to form a belief as to the allegations in the third sentence of paragraph 11

and on that basis denies them. 1-800 Contacts otherwise denies the allegations of in paragraph

11.

        12.     1-800 Contacts admits that between 2004 and 2013 it entered into settlement

agreements of bona fide trademark litigation (and, in one instance, a broader sourcing and

services agreement) that prevent each party from engaging in certain unauthorized uses of the

other’s specified trademark terms as keywords for Internet search advertising. 1-800 Contacts

further admits that these settlement agreements included non-disclosure provisions. 1-800

Contacts denies the remaining allegations in paragraph 12.

        13.     1-800 Contacts denies the allegations in paragraph 13.

        14.     1-800 Contacts admits that Plaintiffs purport to allege a violation of §1 of the

Sherman Antitrust Act and seek damages and injunctive relief. 1-800 Contacts denies that

Plaintiffs have any factual or legal basis for the alleged claims or are entitled to any relief

whatsoever, and otherwise denies the allegations in paragraph 14.

        15.     Paragraph 15 contains legal conclusions to which no answer is required. To the

extent an answer is required, 1-800 Contacts admits that this Court has subject-matter

jurisdiction over this action.

        16.     Paragraph 16 contains legal conclusions to which no answer is required. To the

extent an answer is required, 1-800 Contacts admits that it has transacted business throughout the


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United States, including in this District; admits that it has sold contact lenses throughout the

United States, including in this District; and admits that it has substantial contacts with the

United States, including in this District. 1-800 Contacts lacks knowledge or information

sufficient to form a belief as to the allegations in paragraph 16 regarding Defendants other than

1-800 Contacts and on that basis denies them. 1-800 Contacts denies any remaining allegations

in paragraph 16.

       17.     Paragraph 17 contains legal conclusions to which no answer is required. To the

extent an answer is required, 1-800 Contacts denies the allegations in paragraph 17.

       18.     1-800 Contacts admits that venue is proper in this District. 1-800 Contacts denies

the remaining allegations in paragraph 18.

       19.     1-800 Contacts admits that an individual named J. Thompson with an address

listed in San Diego, California purchased contact lenses from 1-800 Contacts through its website

during the proposed Class Period. 1-800 Contacts lacks knowledge or information sufficient to

form a belief as to the remaining allegations in paragraph 19 and on that basis denies them.

       20.     1-800 Contacts admits that an individual named Iysha Abed with an address listed

in New Jersey purchased contact lenses from 1-800 Contacts through its website during the

proposed Class Period. 1-800 Contacts lacks knowledge or information sufficient to form a

belief as to the remaining allegations in paragraph 20 and on that basis denies them.

       21.     1-800 Contacts admits that an individual named Daniel J. Bartolucci with an

address listed in Washington, D.C. purchased contact lenses from 1-800 Contacts through its

website during the proposed Class Period. 1-800 Contacts lacks knowledge or information




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sufficient to form a belief as to the remaining allegations in paragraph 21 and on that basis denies

them.

         22.   1-800 Contacts lacks knowledge or information sufficient to form a belief as to

the allegations in paragraph 22 and on that basis denies them.

         23.   1-800 Contacts admits that an individual named William Duncanson with an

address listed in San Francisco, California purchased contact lenses from 1-800 Contacts through

its website during the proposed Class Period. 1-800 Contacts lacks knowledge or information

sufficient to form a belief as to the remaining allegations in paragraph 23 and on that basis denies

them.

         24.   1-800 Contacts admits that an individual named Tyler Nance with an address

listed in Little Rock, Arkansas purchased contact lenses from 1-800 Contacts through its website

during the proposed Class Period. 1-800 Contacts lacks knowledge or information sufficient to

form a belief as to the remaining allegations in paragraph 24 and on that basis denies them.

         25.   1-800 Contacts admits that an individual named Leia Pinto with an address listed

in Modesto, California purchased contact lenses from 1-800 Contacts through its website during

the proposed Class Period. 1-800 Contacts lacks knowledge or information sufficient to form a

belief as to the remaining allegations in paragraph 25 and on that basis denies them.

         26.   1-800 Contacts admits that an individual named Jill Schulson with an address

listed in Philadelphia, Pennsylvania purchased contact lenses from 1-800 Contacts through its

website during the proposed Class Period. 1-800 Contacts lacks knowledge or information

sufficient to form a belief as to the remaining allegations in paragraph 26 and on that basis denies

them.


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         27.   1-800 Contacts admits that an individual named Edward Ungvarsky with an

address listed in Washington, DC purchased contact lenses from 1-800 Contacts through its

website during the proposed Class Period. 1-800 Contacts lacks knowledge or information

sufficient to form a belief as to the remaining allegations in paragraph 27 and on that basis denies

them.

         28.   1-800 Contacts admits the allegations in paragraph 28.

         29.   1-800 Contacts lacks knowledge or information sufficient to form a belief as to

the allegations in paragraph 29 and on that basis denies them.

         30.   1-800 Contacts lacks knowledge or information sufficient to form a belief as to

the allegations in paragraph 30 and on that basis denies them.

         31.   1-800 Contacts lacks knowledge or information sufficient to form a belief as to

the allegations in paragraph 31 and on that basis denies them.

         32.   1-800 Contacts lacks knowledge or information sufficient to form a belief as to

the allegations in paragraph 32 and on that basis denies them.

         33.   1-800 Contacts lacks knowledge or information sufficient to form a belief as to

the allegations in paragraph 33 and on that basis denies them.

         34.   1-800 Contacts admits that Plaintiffs purport to bring a claim under § 1 of the

Sherman Act. 1-800 Contacts denies the remaining allegations in paragraph 34.

         35.   1-800 Contacts denies the allegations in paragraph 35.

         36.   Paragraph 36 contains legal conclusions to which no answer is required. To the

extent an answer is required, 1-800 Contacts denies the allegations in paragraph 36.

         37.   1-800 Contacts denies the allegations in paragraph 37.


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       38.     1-800 Contacts admits the allegations in paragraph 38 to the extent they pertain to

1-800 Contacts. 1-800 Contacts lacks knowledge or information sufficient to form a belief as to

the allegations in paragraph 38 regarding Defendants other than 1-800 Contacts and on that basis

denies them.

       39.     1-800 Contacts denies the allegations in paragraph 39.

       40.     1-800 Contacts denies the allegations in paragraph 40.

       41.     1-800 Contacts denies the allegations in paragraph 41.

       42.     1-800 Contacts denies the allegations in paragraph 42.

       43.     1-800 Contacts lacks knowledge or information sufficient to form a belief as to

the allegations in paragraph 43 and on that basis denies them.

       44.     1-800 Contacts denies the allegations in paragraph 44.

       45.     1-800 Contacts denies the allegations in paragraph 45.

       46.     Paragraph 46 contains a legal conclusion to which no answer is required. To the

extent an answer is required, 1-800 Contacts denies the allegations in paragraph 46.

       47.     1-800 Contacts admits the allegations in paragraph 47 to the extent they pertain to

1-800 Contacts. 1-800 Contacts lacks knowledge or information sufficient to form a belief as to

the allegations in paragraph 47 regarding online retailers other than 1-800 Contacts and on that

basis denies them.

       48.     Paragraph 48 contains legal conclusions to which an answer is not required. To

the extent an answer is required, 1-800 Contacts denies the allegations in paragraph 48.

       49.     1-800 Contacts admits that it currently has more U.S. online sales of contact

lenses than any other single retailer. 1-800 Contacts lacks knowledge or information sufficient


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to form a belief as to the allegations in the second and third sentences of paragraph 49 and on

that basis denies them. 1-800 Contacts denies the remaining allegations in paragraph 49.

       50.      1-800 Contacts admits that sales of contact lenses through the Internet have

increased since 2000. 1-800 Contacts lacks knowledge or information sufficient to form a belief

as to the allegations in the second and third sentences of paragraph 50 and on that basis denies

them. 1-800 Contacts denies the remaining allegations in paragraph 50.

       51.      1-800 Contacts denies the allegations in paragraph 51.

       52.      1-800 Contacts admits that it has entered into bilateral settlement agreements of

bona fide trademark litigation (and, in one instance, a broader sourcing and services agreement)

that prevent each party from engaging in certain unauthorized uses of the other’s specified

trademark terms as keywords for Internet search advertising. 1-800 Contacts denies the

remaining allegations of paragraph 52.

       53.      1-800 Contacts admits the allegations in paragraph 53.

       54.      1-800 Contacts admits that it was an early entrant in the online retail sale of

contact lenses. 1-800 Contacts denies the remaining allegations in paragraph 54.

       55.      1-800 Contacts denies the allegations in paragraph 55.

       56.      1-800 Contacts admits that it entered into agreements with the companies listed in

paragraph 56 between June 2004 and 2013. 1-800 Contacts denies the remaining allegations in

paragraph 56.

       57.      1-800 Contacts admits that it entered into a sourcing and services agreement with

Luxottica in December 2013, which contained provisions preventing each party from engaging




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in certain unauthorized uses of the other’s specified trademark terms as keywords for Internet

search advertising. 1-800 Contacts denies the remaining allegations in paragraph 57.

       58.     1-800 Contacts admits that it has entered into settlement agreements of bona fide

trademark litigation (and, in one instance, a broader sourcing and services agreement) that

prevent each party from engaging in certain unauthorized uses of the other’s specified trademark

terms as keywords for Internet search advertising and that contained terms requiring the use of

“negative keywords.” 1-800 Contacts denies the remaining allegations in paragraph 58.

       59.     1-800 Contacts denies the allegations in paragraph 59.

       60.     Paragraph 60 purports to characterize and summarize portions of one or more

documents, which speak for themselves. 1-800 Contacts refers to that document for a true and

complete statement of its contents and otherwise denies the remaining allegations in paragraph

60.

       61.     1-800 Contacts admits that it entered into a settlement agreement of bona fide

trademark litigation with Vision Direct on June 24, 2004. The remaining allegations in

paragraph 61 purport to characterize and quote portions of that settlement agreement, which

speaks for itself. 1-800 Contacts refers to that document for a true and complete statement of its

contents and otherwise denies any remaining allegations in paragraph 61.

       62.     1-800 Contacts lacks knowledge or information sufficient to form a belief as to

the allegations in sentence 1 of paragraph 62 and on that basis denies them. The remaining

allegations in paragraph 62 purports to characterize and quote a document, which speaks for

itself. 1-800 Contacts denies the characterization of that document contained in paragraph 62.




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1-800 Contacts refers to that document for a true and complete statement of its contents and

denies the remaining allegations in paragraph 62.

       63.     1-800 Contacts admits that it entered into a second agreement to settle bona fide

trademark litigation with Vision Direct in 2009. 1-800 Contacts further admits that that

agreement contained terms requiring the use of “negative keywords.”

       64.     Paragraph 64 purports to characterize and quote the 2009 Vision Direct

agreement, which speaks for itself. 1-800 Contacts denies the characterization of the agreement.

1-800 Contacts refers to that document for a true and complete statement of its contents and

denies the remaining allegations in paragraph 64.

       65.     1-800 Contacts admits the allegations in paragraph 65.

       66.     1-800 Contacts denies the first sentence of paragraph 66. The remaining

allegations purport to quote the 2004 Vision Direct agreement, which speaks for itself. 1-800

Contacts refers to that document for a true and complete statement of its contents and otherwise

denies the remaining allegations in paragraph 66.

       67.     1-800 Contacts admits the allegations in paragraph 67.

       68.     1-800 Contacts admits that it entered into a settlement agreement of bona fide

trademark litigation with Walgreens on June 29, 2010. The remaining allegations in paragraph

68 purport to summarize, characterize, and quote portions of that settlement agreement, which

speaks for itself. 1-800 Contacts refers to that document for a true and complete statement of its

contents and otherwise denies any remaining allegations in paragraph 68.

       69.     Paragraph 69 purports summarize and quote portions of the 1-800 Contacts

settlement agreement and Walgreens, which speaks for itself. 1-800 Contacts refers to that


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document for a true and complete statement of its contents and otherwise denies any remaining

allegations in paragraph 69.

       70.     1-800 Contacts admits that it entered into a settlement agreement of bona fide

trademark litigation with AC Lens on March 10, 2010. The remaining allegations in paragraph

70 purport to summarize, characterize, and quote portions of that settlement agreement, which

speaks for itself. 1-800 Contacts refers to that document for a true and complete statement of its

contents and otherwise denies any remaining allegations in paragraph 70.

       71.     1-800 Contacts admits the first sentence of paragraph 71. The remaining

allegations in paragraph 71 purport to summarize and quote portions of that settlement

agreement, which speaks for itself. 1-800 Contacts refers to that document for a true and

complete statement of its contents and otherwise denies any remaining allegations in paragraph

71.

       72.     1-800 Contacts admits that it entered into a sourcing and services agreement with

Luxottica in 2013, which contained provisions preventing each party from engaging in certain

unauthorized uses of the other’s specified trademark terms as keywords for Internet search

advertising. 1-800 Contacts denies the remaining allegations in paragraph 72.

       73.     1-800 Contacts denies the allegations in paragraph 73.

       74.     Paragraph 74 contains legal conclusions to which no answer is required. To the

extent an answer is required, 1-800 Contacts denies the allegations in paragraph 74.

       75.     Paragraph 75 contains legal conclusions to which no answer is required. To the

extent an answer is required, 1-800 Contacts denies the allegations in paragraph 75.




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       76.     Paragraph 76 contains legal conclusions to which no answer is required. To the

extent an answer is required, 1-800 Contacts denies the allegations in paragraph 76.

       77.     1-800 Contacts admits that Plaintiffs purport to bring a class action as alleged in

paragraph 77. 1-800 Contacts denies that Plaintiffs have any factual or legal basis for bringing

the asserted claims or obtaining any relief from 1-800 Contacts, either alone or on behalf of a

putative class, and denies that this is a proper class action. 1-800 Contacts denies the remaining

allegations in paragraph 77.

       78.     Paragraph 78, including subparts (1)-(7), sets forth Plaintiffs’ proposed class

definition, class allegations, and legal conclusions to which no answer is required. 1-800

Contacts denies that Plaintiffs have any factual or legal basis for bringing the asserted claims or

obtaining any relief from 1-800 Contacts, either alone or on behalf of a putative class, and denies

that this is a proper class action. 1-800 Contacts denies the remaining allegations in paragraph

78.

       79.     Paragraph 79 contains legal conclusions to which no answer is required. To the

extent an answer is required, 1-800 Contacts denies the allegations in paragraph 79.

       80.     1-800 denies the allegations in paragraph 80.

       81.     1-800 Contacts admits that on August 8, 2016, the Federal Trade Commission

filed an administrative action against 1-800 Contacts. 1-800 Contacts further admits that the

FTC’s Complaint redacted the names of other online sellers of contact lenses, with whom 1-800

Contacts entered into settlement agreements. The remaining allegations purport to summarize

and characterize the FTC administrative complaint, which speaks for itself. 1-800 Contacts




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refers to that document for a true and complete statement of its contents and otherwise denies

any remaining allegations in paragraph 81.

       82.     Paragraph 82 contains legal conclusions to which no answer is required. To the

extent an answer is required, 1-800 Contacts denies the allegations in paragraph 82.

       83.     Paragraph 83 contains legal conclusions to which no answer is required. To the

extent an answer is required, 1-800 Contacts denies the allegations in paragraph 83.

       84.     1-800 Contacts repeats and reasserts all of the responses to paragraphs 1 through

83 of the Consolidated Amended Complaint set forth above as if fully set forth herein.

       85.     1-800 Contacts denies the allegations in paragraph 85.

       86.     1-800 Contacts denies the allegations in paragraph 86.

       87.     1-800 Contacts denies the allegations in paragraph 87.

                                  AFFIRMATIVE DEFENSES

       Without assuming any burden of proof that it would not otherwise bear, 1-800 Contacts

asserts the following separate and additional affirmative defenses, all of which are pleaded in the

alternative:

                                     First Affirmative Defense

       The Consolidated Amended Complaint fails to state a claim against 1-800 Contacts upon

which relief can be granted.

                                   Second Affirmative Defense

       The claims purportedly set forth in the Consolidated Amended Complaint are barred, in

whole or in part, because the settlement agreements described in the Consolidated Amended

Complaint are not subject to antitrust scrutiny or liability.


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                                    Third Affirmative Defense

        Plaintiffs’ claims are barred, in whole or in part, by the applicable statute of limitations

and/or the doctrine of laches.

                                    Fourth Affirmative Defense

        To the extent the antitrust laws apply here, the legality of the settlement agreements (and

the sourcing and services agreement) described in the Consolidated Amended Complaint is

governed by the rule of reason. Under the rule of reason, those agreements are lawful, including

because their procompetitive benefits outweigh any alleged anticompetitive effect.

                                     Fifth Affirmative Defense

        Plaintiffs’ claims are barred because 1-800 Contacts’ actions were taken in good faith to

advance legitimate business interests and had the effect of promoting, encouraging, and

increasing competition.

                                     Sixth Affirmative Defense

        Plaintiffs’ claims are barred, in whole or in part, because Plaintiffs lack standing to bring

or maintain this action, including without limitation antitrust standing and all other relevant

standing. Plaintiffs also lack standing to bring their claims because the putative class members

that Plaintiffs purport to represent have not suffered antitrust injury or injury in fact.

                                   Seventh Affirmative Defense

        Plaintiffs’ claims are barred, in whole or in part, because Plaintiffs have not suffered

injury proximately caused by any conduct of 1-800 Contacts and/or have not suffered, and will

not suffer, injury of the type that the relevant statutes were designed to prevent.




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                                   Eighth Affirmative Defense

       Plaintiffs’ claims are barred, in whole or in part, for failure to comply with the pleading

requirements of Rule 8 and 9(b) of the Federal Rules of Civil Procedure.

                                   Ninth Affirmative Defense

       Plaintiffs’ claims are barred, in whole or in part, because Plaintiffs have not properly

alleged either a relevant product market or a relevant geographic market and the relevant markets

that they have alleged do not exist.

                                   Tenth Affirmative Defense

       1-800 Contacts has never had, and is not likely to obtain, monopoly or market power in

any properly defined relevant antitrust market involving the sale of contact lenses.

                                  Eleventh Affirmative Defense

       Plaintiffs’ claims are barred, in whole or in part, because the settlements (and the

sourcing and services agreement) described in the Consolidated Amended Complaint did not

substantially lessen or harm competition in any properly defined market.

                                  Twelfth Affirmative Defense

       Plaintiffs’ claims are barred, in whole or in part, because none of 1-800 Contacts’ alleged

actions have harmed consumers.

                                 Thirteenth Affirmative Defense

       Plaintiffs’ claims are barred, in whole or in part, because the settlements (and the

sourcing and services agreement) described in the Consolidated Amended Complaint were

lawful under all applicable laws, statutes, ordinances, and decrees.




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                                 Fourteenth Affirmative Defense

        Plaintiffs’ claims are barred, in whole or in part, because Plaintiffs’ alleged damages, if

any, are speculative, and because of the impossibility of the ascertainment and allocate of those

alleged damages.

                                  Fifteenth Affirmative Defense

        Plaintiffs are barred from recovery of any damages because of and to the extent of their

failure to mitigate, minimize, or avoid any such damages.

                                  Sixteenth Affirmative Defense

        Plaintiffs’ claims are barred, in whole or in part, because this action is not properly

certifiable or maintainable as a class action.

                                Seventeenth Affirmative Defense

        Plaintiffs’ claims are barred because Plaintiffs would be unjustly enriched if allowed to

recover any relief claimed to be due.

                                 Eighteenth Affirmative Defense

        Plaintiffs have an adequate remedy at law and no factual or legal basis for the grant of

equitable relief.

           RESERVATIONS OF DEFENSES AND AFFIRMATIVE DEFENSES

        1-800 Contacts reserves the right to assert and rely on any additional defenses and

affirmative defenses that may come available or apparent, and to amend its Answer and/or

defenses. 1-800 Contacts adopts by reference any applicable affirmative defense not expressly

set forth herein that is pleaded by any other Defendant in this action.




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                                  PRAYER FOR RELIEF

       WHEREFORE, 1-800 Contacts prays that judgment be entered dismissing the

Consolidated Amended Complaint with prejudice, together with costs, fees, and other such relief

as may be just and proper.




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DATED: July 27, 2018           MUNGER, TOLLES & OLSON LLP

                               By: Justin P. Raphael
                                   JUSTIN P. RAPHAEL


                               Rohit K. Singla (admitted pro hac vice)
                               Justin P. Raphael (admitted pro hac vice)
                               Ashley D. Kaplan (admitted pro hac vice)
                               560 Mission St., 27th Floor
                               San Francisco, CA 94105
                               Tel: (415) 512-4000
                               Fax: (415) 512-4077
                               rohit.singla@mto.com
                               justin.raphael@mto.com
                               ashley.kaplan@mto.com

                               Brent O. Hatch (Bar No. 5715)
                               Shaunda L. McNeill (Bar No. 14468)
                               HATCH, JAMES & DODGE, PC
                               10 W. Broadway, Suite 400
                               Salt Lake City, Utah 84101
                               Tel: (801) 363-6363
                               Fax: (801) 363-6666
                               bhatch@hjdlaw.com
                               smcneill@hjdlaw.com

                               Robert S. Clark (Bar No. 4015)
                               Sara M. Nielson (Bar No. 13824)
                               PARR BROWN GEE & LOVELESS
                               101 South 200 East, Suite 700
                               Salt Lake City, Utah 84111
                               Tel: (801) 532-7840
                               Fax: (801) 532-7750
                               rclark@parrbrown.com
                               snielson@parrbrown.com

                               Attorneys for Defendant 1-800 Contacts, Inc.




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